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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                UNITED STATES DISTRICT COURT                                June 16, 2021
                                 SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                     MCALLEN DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
           Plaintiff,                              §
                                                   §
VS.                                                §
                                                   §       CIVIL ACTION NO. 7:20-cv-00344
2.1185 ACRES IN STARR COUNTY,                      §
TEXAS; MARIA DEL ROSARIO G.                        §
RAMIREZ; et al.,                                   §
                                                   §
           Defendants.
                                               ORDER

           The Court now considers the joint status report filed by the United States, and Defendants

Maria del Rosario G. Ramirez, Marco Antonio Flores, Nora Linda Flores, Alicia Martha

Sutherland, Maria Luisa G. Morales, and Maria Avelina Guzman (attorney-in-fact for Defendant

Jesus Guzman, Jr.).1 Therein, the parties first note that they submitted this report three-days after

the deadline because the United States “regrettably failed to correctly calendar the June 7, 2021

deadline.”2 The Court finds excusable neglect for the delayed submission and turns to consider

the parties’ report.

           The parties filed this status report in response to the Court’s May 10th order, which

denied the parties’ request for a forty-five day continuance of their initial pretrial conference to

allow them to either “(1) file a stipulation of dismissal or (2) for the United States to deposit just

compensation and move for possession.”3 In lieu of a forty-five day extension, given the

uncertainty of the parties’ timeline, the Court entered a scheduling order and ordered the parties




1
    Dkt. No. 87.
2
    Id. at 1.
3



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to appear for a status conference on June 17, 2021 unless they filed a stipulation of dismissal or

deposited just compensation and moved for possession before that date.

        In the parties’ status report, they provide that the United States still has not received

guidance as to whether to proceed with the taking in this case.4                 Once the United States

determines how it wishes to proceed, the parties have agreed that either Defendants will grant

possession to the United States or the United States will dismiss the case.5 In the meantime, the

parties provide that they will adhere to the scheduling order in this case.6 As a rationale for this

decision, the parties provide that:

        [they] agree that for the convenience of the Parties and the Court, in lieu of
        stipulating to dismissing the case at this time, the Parties will await on the United
        States’ determination on the use of Tract RGV-RGC-T2055E to avoid the
        possibility of having to refile this case if dismissed.”7

However, while this may be convenient for the United States, the Court does not agree that it is

convenient for the Court or the interested parties in this case. This case was only filed in October

2020, but other land condemnation cases have languished on the Court’s docket for this same

reason, in some cases for over thirteen years.8 Thus, encumbering the property in these cases for

an unascertainable amount of time. Further, in the United States’ haste to file these cases, they

failed to ascertain the proper parties, necessitating multiple rulings from the Court on various

motions to add, substitute, and dismiss parties from this and other land condemnation cases.

There is no doubt that as time passes and interests in the Subject Property shift, further additions,

substitutions, and dismissals will be required.9




4
  Id. at 3, ¶ 8.
5
  Id. at 4, ¶ 8.
6
  Id.
7
  Id.
8
  See Case Nos. 7:08-cv-00066; 7:08-cv-00061; 7:08-cv-00177; 7:08-cv-00202; 7:08-cv-00302.
9
  See id.

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         In light of the parties’ representations, the Court CANCELS the parties’ June 17th status

conference. However, the Court reminds parties that they are required to comply with the

deadlines set out in the scheduling order10 and to diligently prosecute their case until is resolved

or dismissed.11

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 16th day of June 2021.


                                                           ___________________________________
                                                                        Micaela Alvarez
                                                                   United States District Judge




10
   See FED. R. CIV. P. 16(b)(4) (requiring that scheduling order deadlines shall not be modified except by leave of
Court upon showing of good cause).
11
   See FED. R. CIV. P. 41(b).

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